       Case 1:17-cv-00365-DAE Document 357 Filed 05/27/20 Page 1 of 8




                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,          )
                                       )
            Plaintiffs,                )
                                       )
v.                                     )   No. 1:17-cv-00365-DAE
                                       )
GRANDE COMMUNICATIONS                  )
NETWORKS LLC,                          )
                                       )
            Defendant.
                                       )

              GRANDE COMMUNICATIONS NETWORKS LLC’S
          REPLY IN SUPPORT OF MOTION FOR RECONSIDERATION
          Case 1:17-cv-00365-DAE Document 357 Filed 05/27/20 Page 2 of 8




         There is a direct conflict between the Court’s MIL Order and Magistrate Judge Austin’s

order on Grande’s motion to exclude McGarty’s testimony. In the MIL Order, this Court held

that DMCA-related evidence, and McGarty’s testimony specifically, may be admitted at trial,

without regard to the Court’s grant of summary judgment on Grande’s DMCA safe harbor

defense or Grande’s Daubert challenge to McGarty’s testimony. MIL Order at 7, 16–17, 20–21

(ECF No. 347). Previously, Magistrate Judge Austin held that Grande’s Daubert challenge to

McGarty’s testimony was “moot” because Grande no longer has a safe harbor defense. Order on

Motions to Exclude at 9 (ECF No. 280).

         Reconsideration is necessary to resolve this conflict.1 The Fifth Circuit holds that a

district court is “free to reconsider its [interlocutory] decision for any reason it deems sufficient.”

Saqui v. Pride Cent. Am., LLC, 595 F.3d 206, 210–11 (5th Cir. 2010). In any event, the need to

address this clear conflict—regarding evidence that will play a central role at trial—satisfies any

standard that may apply. Permitting Plaintiffs to base their case on Grande’s failure to qualify

for a DMCA safe harbor would be contrary to law and result in manifest injustice at trial.

    I.   Allowing Plaintiffs to introduce evidence regarding Grande’s failure to qualify for a
         safe harbor would be clearly erroneous and gravely prejudicial.

         Plaintiffs concede that 17 U.S.C. § 512(l) precludes a plaintiff from contending “that an

ISP is liable for infringement simply because it fails to qualify for a safe harbor.” Pls.’ Resp. at 7

(ECF No. 356). Nevertheless, Plaintiffs make the tortured argument that such evidence should

be admitted because they do not intend to rely on it to prove liability, only to prove “willful

blindness” and “willfulness.” See id.at 5–6. Willful blindness and willfulness are elements of
1
  Obviously, Plaintiffs are wrong to assert that Grande has now sought reconsideration on seven
occasions. See Pls.’ Resp. at 1. This is the first motion for reconsideration Grande has filed in
this case, and as stated in the Motion, Grande did not make the decision lightly. See Mot. for
Recons. at 2 (ECF No. 348). It is disingenuous of Plaintiffs to characterize filing objections to
orders from a magistrate judge—objections necessary to preserve issues for appeal—as seeking
reconsideration.
                                                   1
           Case 1:17-cv-00365-DAE Document 357 Filed 05/27/20 Page 3 of 8




Plaintiffs’ claims. Relying on Grande’s failure to qualify for a safe harbor to prove liability is

exactly what Plaintiffs intend to do.2

          Plaintiffs also make no attempt to distinguish the authorities recognizing that courts must

disregard the DMCA in evaluating whether a plaintiff has proved the elements of a copyright

infringement claim. See Mot. for Recons. at 4–5 (ECF No. 348). “The DMCA has merely added

a second step to assessing infringement liability for Internet service providers, after it is

determined whether they are infringers in the first place under the preexisting Copyright Act.”

CoStar Grp., Inc. v. LoopNet, Inc., 373 F.3d 544, 555 (4th Cir. 2004) (emphasis added). It

necessarily follows that the failure to qualify for a DMCA safe harbor is irrelevant to liability.

          Plaintiffs’ suggestion that the Cox court permitted such evidence verges on outright

misrepresentation. In the Cox trials, the district court allowed evidence that mentioned the

DMCA—finding that mention of the DMCA was unavoidable—but did not permit reference to

Cox’s failed safe harbor defense. See, e.g., Dec. 2, 2019 Trial Tr. Vol. 1, 8:20–9:12 (“I want to

introduce the fact that there is this DMCA and that there is a safe harbor provision, but it’s not an

issue in this case.”3) (ECF No. 628), Sony Music Ent’mt, et al. v. Cox Commc’ns, Inc., 1:18-cv-

950 (E.D. Va.). Plaintiffs identify nothing from Cox that suggests otherwise.

    II.   DMCA evidence is not relevant to “willful blindness” or “willfulness.”

          Plaintiffs offer no real explanation of how Grande’s DMCA policies and the Court’s

summary judgment ruling are relevant to willful blindness or willful copyright infringement. See

Pls.’ Resp. at 5–6. To prove willful blindness, Plaintiffs must show that (1) Grande had a

2
  If, as Plaintiffs suggest, section 512(l) only prevents a plaintiff from using a defendant’s failure
to qualify for a safe harbor to prove each and every element of a copyright infringement claim—
including, for example, the plaintiff’s ownership of the relevant copyright—then the provision
would never apply.
3
  Notwithstanding the district court’s expressed intention, Grande does take issue with how the
Cox jury was instructed in this regard, but that is a matter for the jury instruction conference.
                                                   2
         Case 1:17-cv-00365-DAE Document 357 Filed 05/27/20 Page 4 of 8




subjective belief that there was a high probability that a fact existed (here, direct copyright

infringement by certain users of Grande’s network), and (2) Grande took deliberate actions to

avoid learning of that fact. See Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769

(2011). Proving willful copyright infringement requires Plaintiffs to prove that “Grande knew its

conduct constituted contributory copyright infringement or acted with reckless disregard of

Plaintiffs’ rights as copyright holders.” See Mar. 15, 2019 Order at 43 (ECF No. 268).

       Grande’s attempt to qualify for a DMCA safe harbor has no relevance under either

standard. It is irrelevant to whether Grande subjectively believed infringement had occurred,

irrelevant to whether Grande deliberately avoided learning about infringement, and irrelevant to

whether Grande knowingly or recklessly disregarded Plaintiffs’ rights. As set forth in the

preceding section, the law is crystal clear that an ISP has no duty to adopt a DMCA policy, and

that the DMCA is irrelevant to what constitutes a prima facie case of copyright infringement.

       Again, Grande does not dispute that Plaintiffs are entitled to introduce evidence that

Grande did not terminate the account of any subscriber whom Rightscorp accused of infringing

one of the works in suit. See Mot. for Recons. at 5–6. Permitting such evidence does not run

afoul of section 512(l)’s prohibition on proving liability through failure to qualify for a safe

harbor. It also does not raise any concerns regarding the introduction of irrelevant evidence of

copyrights not in suit and subscribers not accused of direct infringement. Indeed, evidence of

how Grande responded to Rightscorp’s allegations regarding the works in suit actually bears on

the ultimate issue for trial: whether Grande contributorily infringed any of the works in suit. In

contrast, evidence regarding Grande’s failed safe harbor defense is irrelevant and unfairly

prejudicial to Grande’s defense. At a bare minimum, the Court should leave for trial the question

of whether and to what extent Plaintiffs may introduce such evidence.



                                                  3
         Case 1:17-cv-00365-DAE Document 357 Filed 05/27/20 Page 5 of 8




III.   It would be contrary to law to permit Plaintiffs to introduce DMCA evidence in
       anticipation of a hypothetical argument Grande has not made.

       Plaintiffs argue that they need to introduce the Court’s summary judgment ruling on

Grande’s safe harbor defense to rebut Grande’s hypothetical argument that it should not be

responsible for how its subscribers use the internet. See Pls.’ Resp. at 6–7. To the extent

Plaintiffs need this evidence for rebuttal, they should only be allowed to introduce it once Grande

opens the door. In other words, Plaintiffs’ argument demonstrates that this is not an issue that

can or should be resolved by a blanket ruling of admissibility before trial. To be clear, Grande

has no intention of making any argument at trial that would open the door to evidence regarding

its DMCA safe harbor defense.4

IV.    The Court should preclude McGarty from testifying at trial.

       With respect to McGarty’s proposed trial testimony, one of two things must be true.

Either (1) McGarty’s testimony is relevant to issues at trial, in which case the Court must

reconsider Judge Austin’s ruling that Grande’s Daubert challenge was “moot” (Order on

Motions to Exclude at 9 (ECF No. 280)); or (2) McGarty’s testimony is not relevant to any issue

at trial, in which case the Court must reconsider its denial of Grande’s motion in limine to

exclude his testimony from trial (MIL Order at 7 (ECF No. 347)).

       McGarty’s testimony is not relevant to any issue at trial. Judge Austin’s determination

on this issue could not have been clearer. Judge Austin expressly found that “UMG designated

McGarty to testify on issues relating to Grande’s invocation of the DMCA safe harbor defense.”

Order on Motions to Exclude at 9. Plaintiffs and McGarty himself have represented that this is

the subject matter of his proposed testimony. See Mot. for Recons. at 3. As such, Judge Austin


4
 Furthermore, as discussed above, the DMCA precludes Plaintiffs from introducing the Court’s
summary judgment ruling at trial. See § 512(l). Whether characterized as rebuttal or not, the
DMCA forbids relying on a failed safe harbor defense as evidence of infringement.
                                                 4
         Case 1:17-cv-00365-DAE Document 357 Filed 05/27/20 Page 6 of 8




correctly determined that Grande’s Daubert motion was moot, because the Court granted

summary judgment on Grande’s safe harbor defense.

       Without any basis whatsoever, Plaintiffs assert that Grande’s motion was moot for a

different reason: because it “was focused exclusively on [Grande’s] erroneous contention that

Dr. McGarty’s testimony was limited to whether Grande was eligible for a safe harbor.” Pls.’

Resp. at 9. A cursory review of Grande’s Daubert motion refutes this notion. Grande argued

that McGarty’s testimony is inadmissible for a host of different reasons, including his lack of

qualifications, his attempt to offer factual narrative masquerading as opinion, and his intention to

opine on whether Grande acted “deliberately.” See generally Mot. to Exclude McGarty (ECF

No. 221). There is only one conclusion that can be drawn from Judge Austin’s order:

McGarty’s testimony was moot because the Court rejected Grande’s DMCA defense, and this is

the only subject on which he can offer relevant testimony.

       Finally, Plaintiffs are wrong to claim that McGarty was allowed to offer similar

testimony in the Cox trials. In the first Cox case, the court initially excluded McGarty’s

testimony but then permitted him to offer testimony (without objection) “limited to rebutting

[Cox’s] assertions that Cox’s graduated response system was 96% effective in stopping

infringement.” See BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 199 F. Supp. 3d 958,

990 & n.27 (E.D. Va. 2016). In the second Cox trial, McGarty was likewise only permitted to

testify in rebuttal. See Dec. 17, 2019 Trial Tr. Vol. 11 (P.M.), 2862:20–2863:5 (ECF No. 673),

Sony Music Ent’mt, et al. v. Cox Commc’ns, Inc., et al., 1:18-cv-950 (E.D. Va.).

                                         CONCLUSION

       For the foregoing reasons, the Court should grant Grande’s Motion for Reconsideration.




                                                 5
       Case 1:17-cv-00365-DAE Document 357 Filed 05/27/20 Page 7 of 8




Dated: May 27, 2020


                                         By: /s/ Richard L. Brophy
                                             Richard L. Brophy
                                             Zachary C. Howenstine
                                             Edward F. Behm
                                             Margaret R. Szewczyk
                                             Abigail L. Twenter
                                             ARMSTRONG TEASDALE LLP
                                             7700 Forsyth Blvd., Suite 1800
                                             St. Louis, Missouri 63105
                                             Telephone: 314.621.5070
                                             Fax: 314.621.5065
                                             rbrophy@atllp.com
                                             zhowenstine@atllp.com
                                             ebehm@atllp.com
                                             mszewczyk@atllp.com
                                             atwenter@atllp.com

                                             J. Stephen Ravel
                                             Texas State Bar No. 16584975
                                             J.R. Johnson
                                             Texas State Bar No. 24070000
                                             Diana L. Nichols
                                             Texas State Bar No. 00784682
                                             KELLY HART & HALLMAN LLP
                                             303 Colorado, Suite 2000
                                             Austin, Texas 78701
                                             Telephone: 512.495.6429
                                             Fax: 512.495.6401
                                             Email: steve.ravel@kellyhart.com
                                                     jr.johnson@kellyhart.com
                                                     diana.nichols@kellyhart.com

                                             Attorneys for Defendant GRANDE
                                             COMMUNICATIONS NETWORKS LLC




                                     6
        Case 1:17-cv-00365-DAE Document 357 Filed 05/27/20 Page 8 of 8




                                CERTIFICATE OF SERVICE

       The undersigned certifies that on May 27, 2020, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                    /s/ Richard L. Brophy
                                                    Richard L. Brophy




                                                7
